         CASE 0:21-cr-00036-NEB-DTS Doc. 8 Filed 01/28/21 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 21-MJ-54 (HB)

 UNITED STATES OF AMERICA,                 )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )
                                                ORDER OF DETENTION
                                           )
 DAYTON CHARLES SAUKE,                     )
                                           )
                     Defendant,            )
                                           )

      This matter came before the Court on January 21, 2021, for a preliminary hearing

and upon the motion of the United States for an Order of Detention. The Defendant was

present and represented by his attorney, Andrew Mohring, Esq. The United States was

represented by Assistant United States Attorney Justin A. Wesley.

      Defendant Sauke is charged by Complaint with one count of possession of an

unregistered firearm. A preliminary hearing was held on January 21, 2021, where the

Defendant waived his right to a preliminary hearing and the Court concluded that probable

cause exists to believe the Defendant committed the offense charged.

      Before the hearing, pre-trial services interviewed the Defendant and issued a report

recommending detention, finding that the Defendant presented a risk of non-appearance

and a danger to the community.         The United States argued in support of that

recommendation, relying upon the Complaint Affidavit and the pretrial services report. The

Defendant also proffered information and argued against detention. The Court concludes

that there has been a clear and convincing showing that no condition or combination of
          CASE 0:21-cr-00036-NEB-DTS Doc. 8 Filed 01/28/21 Page 2 of 3




conditions of bond will reasonably ensure the safety of the community and a preponderance

of the evidence demonstrating that releasing the Defendant will create a serious risk of his

nonappearance. Accordingly, the Court will grant the Government's motion for Detention.

                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. The

Court finds that detention is justified in order to ensure the safety of the community and

prevent a serious risk of flight.

       The Government established probable cause to believe that the Defendant

committed the offense charged in the complaint. The burden is on the Government to show

by clear and convincing evidence that no condition or combination of conditions will assure

the safety of the community if Defendant is released, or by a preponderance of the evidence

that releasing Defendant will create a risk of his nonappearance. 18 U.S.C. § 3142(f).

       According to the bond report prepared by the office of probation and pretrial

services, the Defendant poses a risk of nonappearance due to the offense conduct, his

mental health history, his criminal history including a record of failure to appear, his

criminal activity while on supervision, pending charges, and his non-compliance with state

probation. The bond report also enumerates the reasons why the Defendant poses a risk of

danger, including the nature of the offense, his prior history involving guns and drugs, his

mental health history, his substance abuse history, and his non-compliance while on

probation.

                                             2
            CASE 0:21-cr-00036-NEB-DTS Doc. 8 Filed 01/28/21 Page 3 of 3




                                      CONCLUSION

       Based upon the evidence presented, the Court concludes that the United States has

made a clear and convincing showing that no condition or combination of conditions of

bond will reasonably ensure the safety of the community, and has also shown by a

preponderance of the evidence that the Defendant poses a serious risk of flight.

Accordingly,

       IT IS HEREBY ORDERED that:

       1.      The motion of the United States for detention of the Defendant is granted;

       2.      The Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.      The Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       4.      Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the Defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: January 27, 2021                    s/ David T. Schultz
                                           DAVID T. SCHULTZ
                                           United States Magistrate Judge




                                             3
